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                                   5                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                       CORECIVIC INC,
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                                                      Plaintiff,                              No.     C 20–03792 WHA
                                  10
                                               v.
                                  11
                                       CANDIDE GROUP LLC, et al.,                             ORDER GRANTING
                                  12
Northern District of California




                                                                                              MOTION TO STAY
 United States District Court




                                                      Defendants.
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                                            Plaintiff Corecivic moves to stay the determination of attorney’s fees by a special master
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                                       until the resolution of a pending appeal as to the prior order granting defendants’ special
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                                       motion to strike. Defendants Simon and Candide do not oppose the stay.
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                                            It is in the interest of judicial efficiency to stay the case until after our court of appeals
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                                       rules on the appeal. Neither party will be prejudiced by the stay. Though the stay will delay
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                                       the resolution of attorney’s fees, the delay will not be undue because the resolution of the
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                                       appeal could moot the issue of attorney’s fees. Preservation of judicial resources benefits the
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                                       public and weighs in favor of a stay. The motion to stay is GRANTED.
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                                            The hearing on this motion set for September 23 is hereby VACATED.
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                                  24        IT IS SO ORDERED.
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                                  26   Dated: September 9, 2021

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                                                                                                 WILLIAM ALSUP
                                  28                                                             UNITED STATES DISTRICT JUDGE
